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(Rev. 05/05)                                              DATE: June 2, 2006

DEFENDANT:            Michael Anthony Romero

DOB:                  1958

ADDRESS:              In Custody

COMPLAINT FILED?             X     YES            NO

       IF YES, PROVIDE MAGISTRATE CASE NUMBER: 03-1033M

       IF NO, PROCEED TO “OFFENSE” SECTION

HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                        X    YES            NO

       IF NO, A NEW WARRANT IS REQUIRED

OFFENSE: Count One:                Possession with Intent to Distribute 500 grams or
                                   more of cocaine, in violation of 21 U.S.C.
                                   §§841(a)(1) and (b)(1)(B)

               Count Two:          Possession with Intent to Distribute 500 grams or
                                   more of cocaine in violation of 21 U.S.C. §§841(a)(1)
                                   and (b)(1)(B)

LOCATION OF OFFENSE: Pueblo, Colorado

PENALTIES:

Counts One and Two:          NLT 5 years, NMT 40 years imprisonment, a fine of up to
                             $2,000,000, or both; NLT 4 years supervised release and a
                             mandatory $100.00 special assessment fee as to each
                             count.

AGENT:                       TFO Mark Cannon, DEA

AUTHORIZED BY:               James R. Boma
                             Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:

   X     five days or less          over five days            other

THE GOVERNMENT

    X will seek pretrial detention in this case           will not seek pretrial detention in
this case

The statutory presumption of detention is applicable to this defendant.

OCDETF CASE:                 Yes             X       No
